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                 Attachment A

        Fully Executed
    Settlement Agreement

                     Part 1 of 10
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               IN WITNESS WHEREOF, the PARTIES hereto have executed this AGREEMENT
       on the date written below.

       Dated:     10-17-2017                                 -
                                                   tthe Blanco, laintiff

       Dated:
                                                Amber Jones         tiff

       Dated:
                                                Deborah Robertson, Mayor
                                                Authorized Representative for Defendant
                                                City of Rialto


       APPROVED AS TO FORM AND CONTENT


                                                MASTAGNI HOLSTEDT, APC

       Dated:     JO/ i (Z011
                                                DAVID E. MASTAGNI
                                                Attorneys for Blanco Plaintiffs


                                                DAMMEIER LAW FIRM

       Dated: 10-17-17                                    betwA44.1,
                                                DIETER DAMMEIER
                                                Attorney for Jones Plaintiffs


                                                ALESHIRE & WYNDER, LLP


       Dated:
                                                FRED GALANTE
                                                Attorneys for Defendant, City of Rialto




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   PLEASE READ THE ABOVE AGREEMENT CAREFULLY. THIS SETTLEMENT
   AGREEMENT AND GENERAL RELEASE INCLUDES A RELEASE OF ALL
   KNOWN AND UNKNOWN CLAIMS.

   I, the undersigned, by signing below, hereby acknowledge that I understand and agree to the
   terms and conditions contained in this Settlement Agreement and Release, as set forth in the
   above. I have been given the opportunity to seek the advice of counsel with respect to any
   questions I might have regarding my rights and obligations under this settlement agreement.

              10/30/17
   Dated: __________________                  _________________________________
                                              Plaintiff (Signature)


                                              __________________________________
                                               Ralph L. Ballew
                                              Plaintiff (Print Name)




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          10/23/2017

                                         Ryan Cathey
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           10/24/17

                                      Dezeray Covarrubias
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    PLEASE READ THE ABOVE AGREEMENT CAREFULLY. THIS SETTLEMENT
    AGREEMENT AND GENERAL RELEASE INCLUDES A RELEASE OF ALL
    KNOWN AND UNKNOWN CLAIMS.

    I, the undersigned, by signing below, hereby acknowledge that I understand and agree to the
    terms and conditions contained in this Settlement Agreement and Release, as set forth in the
    above. I have been given the opportunity to seek the advice of counsel with respect to any
    questions I might have regarding my rights and obligations under this settlement agreement.


            10/31/17
    Dated: __________________                  _________________________________
                                               Plaintiff (Signature)


                                               Martin de Schepper
                                               __________________________________
                                               Plaintiff (Print Name)




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